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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
CAMDEN VICINAGE

DOCUMENT ELECTRONICALLY FILED

 

 

SANTOS ANDUJAR,
Civil Action No.
Plaintiff, 1:14-CV-07696-RMB-JS
vs.
GENERAL NUTRITION CORPORATION, SATISFACTION OF JUDGMENT
Defendant.

 

 

 

Judgment was rendered in favor of the above-named Plaintiff,
Santos Andujar, and against the above-named Defendant, General
Nutrition Corporation, in the above-captioned action on the 7t® day
of June, 2019 in the total sum of $550,187.89, and the Plaintiff
acknowledges payment of said judgment in full and desires to
release this judgment and hereby fully and completely satisfy the
same.

Date: July {!, 2019 RICHARD M. P

TORE
Corporation

  
 

 

Richard M. Pescatore

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Attorney for Plaintiff

 

 
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I CERTIFY that the foregoing statements made by me are true.
T am aware that if any of the foregoing statements made by me are

willfully false, I am subject to punishment.

  
 

Date: July{, 2019 RICHARD M/ PESCATORE
A Prete Ll Corporation

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